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                 EXHIBIT “B”
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        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                     Chicago District Office
                                                                                      230 S Dearborn Street
                                                                                          Chicago, IL 60604
                                                                                             (800) 669-4000
                                                                                     Website: www.eeoc.gov


                       DISMISSAL AND NOTICE OF RIGHTS
                   (This Notice replaces EEOC FORMS 161, 161-A & 161-B)

                                       Issued On: 11/17/2023
To: Danielle Jones


Charge No: 440-2023-08679
EEOC Representative and email:       KIMBERLY ENGRAM
                                     Investigator
                                     kimberly.engram@eeoc.gov


                                   DISMISSAL OF CHARGE

The EEOC has granted your request that the agency issue a Notice of Right to Sue, where it is
unlikely that EEOC will be able to complete its investigation within 180 days from the date the
charge was filed.
The EEOC is terminating its processing of this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 440-2023-08679.

                                               On behalf of the Commission,

                                               Digitally Signed By:Diane I. Smason
                                               11/17/2023
                                               Diane I. Smason
                                               Acting District Director
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Cc:
Irys Melara
222 N LaSalle St
Chicago, IL 60601

Nathan Volheim
Sulaiman Law Group, Ltd.
2500 South Highland Avenue, Suite 200
Lombard, IL 60148


Please retain this notice for your records.
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Enclosure with EEOC Notice of Closure and Rights (01/22)




                               INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
 (This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
           other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
ADA, GINA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
2) a “Section 83” request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.
To make a FOIA request for your charge file, submit your request online at
https://eeoc.arkcase.com/foia/portal/login (this is the preferred method). You may also submit a
FOIA request for your charge file by U.S. Mail by submitting a signed, written request
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Enclosure with EEOC Notice of Closure and Rights (01/22)



identifying your request as a “FOIA Request” for Charge Number 440-2023-08679 to the
District Director at Diane I. Smason, 230 S Dearborn Street
Chicago, IL 60604.
To make a Section 83 request for your charge file, submit a signed written request stating it is
a "Section 83 Request" for Charge Number 440-2023-08679 to the District Director at Diane I.
Smason, 230 S Dearborn Street
Chicago, IL 60604.
You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.
For more information on submitting FOIA requests, go to
https://www.eeoc.gov/eeoc/foia/index.cfm.
For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.
